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EXHIBIT C
Case 4:10-cv-01997 Document 324-3 Filed on 12/06/11 in TXSD —— Page 2 of 2

Form 761 This s pace re served foro ffice
(Revised 02/10) use FILED
Submit in duplicate to: Seon af State of Texas
Secretary of State

P.O. Box 13697 NOV 12 2016
Austin, TX 78711-3697 Registration of a , .
312 463-5555 Limited Liability Partnership | Corporations Section
FAX: 312 463-5709

Filing Fee: See instructions

Entity Information
1. The name of the partnership is:
BIG STAR GATHERING LTD LLP

Name must contain the phrase “limited ability partnership” or an abbreviation of that phrase, {f the partnership is u limited partnership,
the entity name may include the phrase “limited Hability limited partnership” or an abbreviation of that phrase.

2. The federal employer identification number of the partnership is; _72-1536760
["] The partnership has not obtained q federal employer identification number at this time.

Number of Partwers

3. The number of general partners at the date of registration is: 2
The number af general partners in a general partnership must be at least two.

Principal Office
4. The address of the partnership’s principal office in Texas or outside of Texas, as applicable, is:

1058 FM 3024 GEO ‘ TX LIV 78022
Street or Mailing Address Cite State Country Zip Code

Statement of Parinership’s Business
5. The parmership’s business is:

GATHERING CRUDE OIL

Effectiveness of Filing (Setect cither A or B)
A. [¥] This document becomes effective when the document is fil:d by the secretary of state,
B. L_] This document becomes effective at a later date, which is not more than ninety (90) days from

the date of signing. The delayed effective date is:

Execution
The undersigned signs this document subject to the penalties imposed by law for the submission of a
materially false or fraudulent instrument and certifies under penalty of perjury that the undersigned is
authorized under the provisions of law governing the entity to execute the filing instrument.

Date: _11-8-2010 Cb b
: Ahir Ll
RECEIVED

NOV 19 2010 i ntrsk Fe

Se For a general partnership, signature of a majority-in-interest of +
crelary of Slate the partners or signature of one or more of the partners
authorized by a majer'ty-in-inlerest. For a limited partnership,
signature of one general partner.

Form 76t 3
